     Case 3:16-md-02741-VC Document 8006-1 Filed 11/26/19 Page 1 of 5




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12   Attorneys for Defendant
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13

14                              UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16                                             )
     IN RE: ROUNDUP PRODUCTS                   ) MDL No. 2741
17   LIABILITY LITIGATION                      )
                                               ) Case No. 3:16-md-02741-VC
18                                             )
                                               ) DECLARATION OF BRIAN L.
19   Dickey v. Monsanto Co., 3:19-cv-04102-VC ) STEKLOFF IN SUPPORT OF
     Domina v. Monsanto Co., 3:16-cv-05887-VC ) MONSANTO COMPANY’S MOTION
20                                             ) TO EXCLUDE TESTIMONY OF DR.
     Giglio v. Monsanto Co., 3:16-cv-05658-VC ) CHARLES BENBROOK ON DAUBERT
21   Janzen v. Monsanto Co., 3:19-cv-04103-VC ) GROUNDS
                                               )
22   Mendoza v. Monsanto Co., 3:19-cv-06046-VC )
     Perkins v. Monsanto Co., 3:16-cv-06025-VC )
23                                             )
     Pollard v. Monsanto Co., 3:19-cv-04100-VC )
24   Russo v. Monsanto Co., 3:16-cv-06024-VC )
                                               )
25   Sanders v. Monsanto Co., 3:16-cv-05752-VC )
     Tanner v. Monsanto Co., 3:19-cv-04099-VC )
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. BENBROOK ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8006-1 Filed 11/26/19 Page 2 of 5




 1          I, Brian L. Stekloff, declare and state as follows:
 2          1.     I am a partner at the law firm of Wilkinson Walsh + Eskovitz, LLP, counsel for
 3   defendant Monsanto Company (“Monsanto”). I make this declaration in support of Monsanto’s
 4   Motion to Exclude Testimony of Dr. Charles Benbrook on Daubert Grounds.
 5          2.     Annexed hereto as Exhibit 1 is a true and correct copy of Plaintiff’s Rule 26
 6   Expert Disclosures, dated August 20, 2019, for Giglio v. Monsanto Company, Northern District
 7   of California Case No. 3:16-cv-05658-VC.
 8          3.     Annexed hereto as Exhibit 2 is a true and correct copy of Pretrial Order No. 111,
 9   dated March 13, 2019, for Hardeman v. Monsanto Company, Northern District of California
10   Case No. 3:16-cv-00525.
11          4.     Annexed hereto as Exhibit 3 is a true and correct copy of Order on (1)
12   Monsanto’s Omnibus Sargon Motion; (2) Monsanto’s Motion for Summary Judgment; (3)
13   Plaintiff’s Omnibus Sargon Motion; (4) Plaintiff’s Motion for Summary Adjudication, entered
14   May 17, 2018, for Johnson v. Monsanto Company, Superior Court of California, San Francisco
15   County Case No. CGC-16-550128.
16          5.     Annexed hereto as Exhibit 4 is a true and correct copy of Order on Sargon
17   Motions and Motion for Summary Judgment, entered March 18, 2019, for Pilliod, et al. v.
18   Monsanto Company, Superior Court of California, Alameda County Case No. RG17862702.
19          6.     Annexed hereto as Exhibit 5 is a true and correct copy of exceprts from the March
20   14, 2019, Transcript of Proceedings from Hardeman, et al. v. Monsanto Company, Northern
21   District of California Case No. 3:16-cv-00525-VC.
22          7.     Annexed hereto as Exhibit 6 is a true and correct copy of the Expert Report of Dr.
23   Charles Benbrook, dated August 20, 2019, for Giglio v. Monsanto Company, Northern District of
24   California Case No. 3:16-cv-05658-VC.
25          8.     Annexed hereto as Exhibit 7 is a true and correct copy of Deposition of Dr.
26   Benbrook, taken February 8, 2018, in Johnson v. Monsanto Company, Superior Court of
27   California, San Francisco County Case No. CGC-16-550128.
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. BENBROOK ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8006-1 Filed 11/26/19 Page 3 of 5




 1          9.     Annexed hereto as Exhibit 8 is a true and correct copy of excerpts from the May
 2   10, 2018, Transcript of Proceedings from Johnson v. Monsanto Company, Superior Court of
 3   California, San Francisco County Case No. CGC-16-550128.
 4          10.    Annexed hereto as Exhibit 9 is a true and correct copy of Deposition of Dr.
 5   Charles Benbrook, taken February 9, 2018, in Johnson v. Monsanto Company, Superior Court of
 6   California, San Francisco County Case No. CGC-16-550128.
 7          11.    Annexed hereto as Exhibit 10 is a true and correct copy of the August 20, 2019,
 8   Dr. Charles Benbrook Expert Report, Appendix A Resume.
 9          12.    Annexed hereto as Exhibit 11 is a true and correct copy of Deposition of Dr.
10   Charles Benbrook, taken December 28, 2018, in Hardeman, et al. v. Monsanto Company,
11   Northern District of California Case No. 3:16-cv-00525-VC.
12          13.    Annexed hereto as Exhibit 12 is a true and correct copy of the Expert Report of
13   Dr. Charles Benbrook, dated December 21, 2017, for Johnson v. Monsanto Company, Superior
14   Court of California, San Francisco County Case No. CGC-16-550128.
15          14.    Annexed hereto as Exhibit 13 is a true and correct copy of Deposition of Dr.
16   Charles Benbrook, taken September 13, 2018, for Adams, et al. v. Monsanto Company, St. Louis
17   County Case No. 17SL-CC02721.
18          15.    Annexed hereto as Exhibit 14 is a true and correct copy of Deposition of Dr.
19   Charles Benbrook, taken May 23, 2018, for Hall, et al. v. Monsanto Company, St. Louis City
20   Case No. 1622-CC01071.
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. BENBROOK ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8006-1 Filed 11/26/19 Page 4 of 5




 1   DATED: November 26, 2019                 Respectfully submitted,

 2                                            /s/ Brian L. Stekloff___________

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     STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. BENBROOK ON DAUBERT GROUNDS
     Case 3:16-md-02741-VC Document 8006-1 Filed 11/26/19 Page 5 of 5




 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 26th day of November, 2019, a copy of the foregoing
 3   was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing
 4   to all appearing parties of record.
                                                /s/ Brian L. Stekloff
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. BENBROOK ON DAUBERT GROUNDS
